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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

LAEARTHA BANKS and ARIA
LAMBERT, Each individually and on
Behalf of All Others Similarly Situated                                       PLAINTIFFS


V.                              CASE NO. 4:21CV00429 JM

CENTENE MANAGEMENT COMPANY LLC
And CENTENE CORPORATION                                                     DEFENDANTS

                                          ORDER

       Pending are the Defendants’ motion to deny conditional certification and dismiss

the FLSA Collective Claim, docket # 15 and the Plaintiffs’ motion for leave to file an

amended complaint, docket # 21.

       On September 3, 2021 the parties submitted their joint Rule 26(f) report in which

they agreed to a deadline of January 7, 20221 for the Plaintiffs to move for class

certification. The Court’s final scheduling order entered November 30, 2021 is silent as

to a deadline to file a motion for conditional class. Where the scheduling order is silent

as to an agreed deadline, the Court will enforce the agreement of the parties. Plaintiffs

failed to file their motion for conditional certification on or before the agreed deadline of

January 7, 2022. Accordingly, the Defendants’ motion to dismiss the FLSA collective

claim is GRANTED.

       Although Plaintiffs may file amended pleadings and add parties up to and


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  The Joint Rule 26(f) report filed September 3, 2021 actually states the agreed deadline
to file motions for class certification as January 3, 2021, a clear typographical error.
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including September 9, 2022, Plaintiffs’ proposed Amended Complaint also adds

collective claims. Accordingly, Plaintiffs’ motion to file an amended complaint is

DENIED

      IT IS SO ORDERED, this 23rd day of March, 2022.



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                                                  James M. Moody Jr.
                                                  United States District Judge
